
In re Gladney, James; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Bossier, 26th Judicial District Court, Div. “B”, Nos. 58-622, 58-839.
Denied. Relator has failed to show that he has complied with the procedures set forth in the Public Records Law, LSA-R.S. 44:1, et seq., by commencing his efforts to obtain the initial police report and district attorney’s files by making a request to the custodians of those records. If the records custodian denies or does not respond timely to relator’s request, relator should follow the procedure set out in LSA-R.S. 44:35. As to the trial court transcript, relator has not shown a particularized need.
DENNIS, J., not on panel.
